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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE:                                          §
                                                §
GREG N. WISNER and,                             §   CASE NO. 21-41120
DANA P. WISNER                                  §
                                                §
DEBTORS                                         §
BALLOUT REAL ESTATE, LLC                        §
     Plaintiff,                                 §
                                                §
vs.                                             §   ADV. NO. 21-04121
                                                §
GREG N. WISNER and,                             §
DANA P. WISNER                                  §
     Defendants.                                §

      DEFENDANTS’ MOTION TO DISMISS COUNT OF COMPLAINT SEEKING
           DECLARATORY JUDGMENT REGARDING DISCHARGE AND
          DISCHARGEABILITY OF A DEBT UNDER 11 U.S.C. §§ 727 & 523

         14-DAY NEGATIVE NOTICE – LBR 7007: No hearing will be conducted on
         this Motion unless a written objection is filed with the Clerk of the United
         States Bankruptcy Court and served upon the party filing this pleading
         WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE shown
         in the certificate of service unless the Court shortens or extends the time for
         filing such objection. If no objection is timely served and filed, this pleading
         shall be deemed to be unopposed, and the Court may enter an order granting
         the relief sought. If an objection is filed and served in a timely manner, the
         Court will thereafter set a hearing with appropriate notice. If you fail to
         appear at the hearing, your objection may be stricken. The Court reserves the
         right to set a hearing on any matter.

         COMES NOW Defendants Greg N. Wisner and Dana P. Wisner ("Defendants") file this

Defendants’ Motion to Dismiss Count of Complaint Seeking Declaratory Judgment Regarding

Discharge and Dischargeabity of a Debt. In support of this Motion, the Defendants state as

follows:

         1.     Defendants respectfully submit that the Plaintiff’s request for Declaratory

Judgment that the Defendants should be denied a discharge under 11 U.S.C. § 727 or that its debt

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should be declared nondischargeable under 11 U.S.C. §523 should be dismissed under Federal

Rule of Civil Procedure 12(b)(1) for lack of subject matter jurisdiction because the request for

relief was filed with the court 88 days after the deadline for seeking such relief.

                                        BACKGROUND FACTS

       2.      The Defendants filed a voluntary petition for relief under chapter 7 on August 5,

2021 in this district. The Debtor listed Ballout Real Estate, LLC (the “Plaintiff”) as a creditor on

its service list and schedules filed on the same day as its voluntary Petition. At the time the

bankruptcy case was commenced, the Bankruptcy Noticing Center (“BNC”) sent the Notice of

Chapter 7 Bankruptcy Case to creditors of the Debtors, including the Plaintiff. The BNC filed its

Certificate of Notice showing service on Ballout Real Estate on August 8, 2021 [Docket #4 Main

Bankruptcy Case]. Set forth in the Notice of Chapter 7 Bankruptcy was notice that the deadline

to object to discharge or to challenge whether certain debts are dischargeable was November 1,

2021 (the “727/523 deadline”)

       3.      No request to extend the 727/523 deadline was filed in the case by any party.

       4.      The Plaintiff made its first appearance in the main bankruptcy case on September

22, 2021 [Docket #19 Main Bankruptcy Case].

       5.      On November 1, 2021 the Plaintiff filed its Plaintiff’s Original Complaint (Adv.

Dkt #1] in this adversary (the “Original Complaint”). A true and correct copy of the Plaintiff’s

Original Complaint, without exhibits, is attached hereto as Exhibit 1. In its Original Complaint,

the Plaintiff sought an award of damages for Count 1 - Theft-Civil Liability Act; Count 2 –

Conversion; Count 3 – Unjust Enrichment/ Money Had and Received; Count 4 – Fraud, Fraud by

Concealment, Fraud through Misrepresentation, and Fraud by Non-Disclosure; Count 5 – Civil

Conspiracy and Aiding and Abetting; Count 6 – Accounting; Count 7 Exemplary Damages; Count

8 – Attorney’s Fees; Count 9 – Request for Declaratory Judgment.
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       6. In its Request for Declaratory Judgment, the Plaintiff requested:

            “…. declaratory judgment to resolve an existing controversy concerning the
            parties’ respective rights and obligations regarding the Defendant’s
            Property. Defendants have taken the position in the underlying bankruptcy
            proceeding that the Defendant’s Property is an exempt asset and Defendants
            are seeking to avoid and cancel any judgment lien arising from the judgment
            Patriot Concrete obtained against Greg Wisner.

            Plaintiff has shown herein that the Defendant’s Property was obtained
            through ill-gotten gains received by Defendants through their fraudulent
            and unlawful scheme set forth in detail herein.

            Given the controversy between the parties regarding their respective rights
            and obligations concerning the exempt status of the Defendant’s Property,
            Plaintiff seeks declaratory judgment that Defendant’s Property is not an
            exempt asset and, therefore, Defendants are not entitled to avoid or cancel
            any judgment liens against such property.”

       7.       At the Conclusion of the Original Complaint, the Plaintiff requested that it be

awarded judgment against Defendants for the following relief:

            1. Plaintiff’s actual damages;
            2. Plaintiff’s reasonable and necessary attorney’s fees;
            3. Exemplary damages pursuant to Chapter 41 of the Texas Civil Practice and
            Remedies Code;
            4. Pre-judgment and post-judgment interest at the maximum rates allowed by law;
            5. Declaratory judgment as requested herein; and
            6. Such other and further relief, at law or in equity, to which Plaintiff may be justly
            entitled.

       8.       The Plaintiff did not seek any relief in its Count for Declaratory Relief in the

Original Complaint for the determination of the Debtors discharge or dischargeability of its claim

under Section 727/523 nor in any other count in its Original Complaint. The Original Complaint

is entirely devoid of any request to deny the Defendant’s a discharge or to determine the

dischargeability of the Plaintiff’s claim.



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       9.      When the Original Complaint was filed, the court clerk appropriately classified the

adversary proceeding as “02. Other (e.g. other actions that would have been brought in state court

if unrelated to bankruptcy). 14. Recovery of money property – other.”_

       10.     No summons was issued related to the Original Complaint.

       11.     On November 22, 2021, the Plaintiff filed its Amended Complaint [Adv. Dkt. #2].

No request for relief under Section 727/523 was made in the Plaintiff’s Amended Complaint. A

true and correct copy of Plaintiff’s Amended Complaint is attached hereto as Exhibit 2. Summons

were issued for the Plaintiff’s Amended Complaint on January 20, 2022 but were never served on

the Defendants and no return of service filed with the court.

       12.     On January 13, 2022 the Defendants were issued an Order of Discharge in the main

bankruptcy case [Docket # 67 Main Bankruptcy Case].

       13.     On January 27, 2022, the Plaintiff filed its Second Amended Complaint [Adv. Dkt.

#6]. The Plaintiff did not include any additional counts in its complaint, but for the first time

included, in its Request for Declaratory Judgment, a request that its debt not be discharged under

Section 523. The Plaintiff also, for the first time, included a request for declaratory judgment that

the Debtors should be denied a discharge under Section 727. A true and correct copy of the

Plaintiff’s Second Amended Complaint is attached as Exhibit 3.

       14.     Summons for the Second Amended Complaint were issued on January 28, 2022.

A return of serve was returned on January 31, 2022.

                                               STANDARD

       15.     A motion to dismiss under Rule 12(b)(1) challenges the subject matter jurisdiction

of the Court. Ramming v. United States, 281 F.3d 158, 161 (5th Cir.2001). The party asserting

jurisdiction bears the burden of proving its existence. Id. (citing Menchaca v. Chrysler Credit

Corp., 613 F.2d 507, 511 (5th Cir.1980)). A case is properly dismissed under Rule 12(b)(1) when
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the Court lacks the statutory or constitutional power to adjudicate the case. Cleancoalition v. TXU

Power, 536 F.3d 469, 473 (5th Cir.2008) (citing Home Builders Ass'n of Miss., Inc. v. City of

Madison, 143 F.3d 1006, 1010 (5th Cir.1998)). In deciding a Rule 12(b)(1) motion, the Court may

consider: “(1) the complaint alone; (2) the complaint supplemented by undisputed facts evidenced

in the record; or (3) the complaint supplemented by undisputed facts plus the court's resolution of

disputed facts.” Robinson v. TCI/US West Comm'cns Inc., 117 F.3d 900, 904 (5th Cir.1997).

                                    ARGUMENT AND AUTHORITIES

       16.     The Defendants motion to dismiss is governed by Federal Rules of Civil Procedure

12(b)(1), made applicable in bankruptcy proceedings by Federal Rules of Bankruptcy Procedure

7012 for lack of subject-matter jurisdiction.

       17.     The deadline for filing discharge or dischargeability complaints is jurisdictional in

nature. Where a creditor does not file a complaint objecting to a chapter 7 debtor’s discharge or

seek extension of time, until after the deadline has already expired, the bankruptcy court is without

jurisdiction to consider the complaint. In re Thomas, 203 B.R. 64 (E.D. Tex. 1996).

       18.     The Plaintiff’s first request for the Debtors to be denied a discharge was not only

filed 88 days after the deadline set forth in the Notice of Chapter 7 Bankruptcy Case, it was made

14-days after the Debtors had already received their discharge order from the court.

       19.     The Plaintiff received timely notice of the bankruptcy filing by the BNC. The

Plaintiff made an appearance in the bankruptcy case as early as September 22, 2021; well before

the discharge / dischargeability deadline of November 1, 2021 and no motion requesting an

extension of the deadline was filed with the court.

       20.     Federal Rule of Bankruptcy Procedure 4007(c) provides:

       …. A complaint to determine the dischargeability of a debt under section 523(c)
       shall be filed no later than 60 days after the first date set for the meeting of creditors
       under section 341(a). The court shall give all creditors no less than 30 days notice
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       of the time so fixed in the manner provided in Rule 2002. On motion of a party in
       interest, after hearing on notice, the court may for cause extend the time fixed under
       the subdivision. The motion shall be filed before the time has expired.

       21.     The first date set for the Debtors meeting of creditors was September 2, 2021.

November 1, 2021 is 60-days following the first date set for the meeting of creditors. The Plaintiff

received notice of the deadline on August 8, 2021 and made an appearance in the case on

September 22, 2021. The Plaintiff clearly received more than 30-days notice of the deadline to

file a complaint to determine dischargeability of its debt or request that the Debtors be denied a

discharge.

       22.     The 60-day deadline is jurisdictional and may not be extended after the deadline

has passed. Id. at 70. Also see In re Rowland, 275 B.R. 209, 215 (E.D. Penn. 2002) (The deadline

in Rule 4007(c) is jurisdictional); In re Rhodes, 71 B.R. 206, 208 (9th Cir. BAP 1987) (Bankruptcy

court was obligated to dismiss creditor’s complaint under section 523(c) where the creditor filed

its complaint one-day late even upon a showing of excusable neglect.)

       23.     Nor should the Plaintiff be allowed to argue its Second Amended Complaint should

relate back to its Original Complaint filed before the expiration of the 727/523 deadline. Federal

Rule of Civil Procedure 15 Amended and Supplemental Pleadings, made applicable by Fed R.

Bankr. Proc. 7015, provides:

       (c) RELATION BACK OF AMENDMENTS.

               (1) When an Amendment Relates Back. An amendment to a pleading relates back
       to the date of the original pleading when:
                       (A) the law that provides the applicable statute of limitations allows relation
                       back;

       24.     Bankruptcy rules establishing time limits for filing complaints objecting to debtor’s

discharge or to dischargeability of debt are analogous to statutes of limitations and are strictly

construed. In re Bozeman, 226 B.R. 627, 630 (8th Cir. BAP 1998). The statute of limitations for

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the Plaintiff to have objected to the Defendants discharge or object to the discharge of its debt was

November 1, 2021. The Plaintiff failed to raise such a claim until its Second Amended Complaint

was filed 88 days after the deadline. The Bankruptcy Rule establishing time limits for filing

objections to debtor’s discharge is to be strictly construed and does not allow an amended

complaint to relate back to the original pleading after the expiration of the deadline. In re Damrill,

232 B.R. 767, 777 (W.D. Mo. 1999) (Creditor that had timely filed an objection to the debtor

receiving a discharge under section 727, was not allowed to amend its pleading to add an objection

to determine the dischargeability of its debt under section 523 after the deadline for doing so had

already expired).

       25.     The Plaintiff simply missed the deadline to seek relief under Section 523 or Section

727, thus depriving this court of subject matter jurisdiction to consider the request. The Plaintiff’s

request for declaratory relief under 727/523 should be dismissed.

       For the foregoing reasons, the Defendants respectfully request, pursuant to Federal Rules

of Civil Procedure 12(b)(1), that this Court enter an order dismissing the claims and causes of

action for relief under 11 U.S.C. §727 objection to the Defendant’s discharge and under 11 U.S.C.

§523 to determine the dischargeability of the Plaintiff’s claim as specified in this Motion and grant

the Defendants such other and further relief to which they may show themselves justly entitled.

Dated: February 25, 2022


                                               Respectfully submitted,

                                               QUILLING, SELANDER, LOWNDS,
                                                 WINSLETT & MOSER, P.C.
                                               2001 Bryan Street, Suite 1800
                                               Dallas, Texas 75201
                                               (214) 880-1851 (Telephone)
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                                            By: /s/ John Paul Stanford
                                               John Paul Stanford
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                                            COUNSEL FOR DEFENDANTS



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 25th day of February 2022, a true and correct
copy of the foregoing pleading was served by electronic transmission via the Court’s CM/ECF
system upon all parties registered to receive electronic notice in this adversary proceeding and
upon the counsel for Plaintiff.

       William C. Little
       Little & McCool, P.C.
       301 Main Plaza #372
       New Braunfels, Texas 78130

                                                     /s/ John Paul Stanford




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